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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                    NORTHERN DIVISION

UNITED STATES OF AMERICA

VS.                                                                    CRIMINAL NO.: 3:19-cr-164-CWR

HUMBERTO SALVADOR-LOPEZ                                                                         DEFENDANT



                                        MOTION TO CONTINUE

        COMES NOW the Defendant, by and through counsel, and files this Motion to Continue and would

state unto the Honorable Court the following, to wit:

1.      That a trial in this matter is set for October 21, 2019.

2.      That the attorney for the Defendant, was appointed to represent the Defendant in this matter on

        August 26, 2019.

3.      That the Defendant in this matter does not speak english and has been housed in a detention

        facility more than three (3) hours away from his attorney’s office. Furthermore, that it has

        been extremely difficult, logistically speaking, to meet with the Defendant, communicate

        with the Defendant, and properly prepare for a trial in this matter under the current pre-trial

        and trial deadlines. Therefore, the Defendant’s appointed counsel request a continuance.

4.      That counsel for the Defendant request that trial in this matter be reset for the November or

        December, 2019 term of Court.

5.      That counsel for the Defendant request that all pre-trial motion deadlines also be reset and extended

        for the same reasons as set out above.

6.      That the Defendant also request that this Court grant an extension of time to file all dispositive,

        non-dispositive motions, and also to continue the trial of this case on grounds that the failure to grant

        such a continuance would deny counsel for the Defendant the reasonable time necessary for effective

        preparation, taking into account the exercise of due diligence. 18 U.S.C. '3161(h)(7)(B)(iv).
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7.      That Counsel for Defendant has contacted the attorney representing the United States in this

         matter, and Counsel has made no objection to a continuance.

8.      That the Defendant has signed a waiver of his speedy trial rights in regards to anytime related to

        the granting of this continuance.

9.      That the ends of justice will be served by granting the continuance requested.

        WHEREFORE, PREMISES CONSIDERED, Defendant prays that the Court will grant the

continuance as requested herein.

        RESPECTFULLY SUBMITTED, this the 25th day of September, 2019.


                                                  DEFENDANT



                                            By:   __/s/ Brad Mills_____ ____________
                                                  M. BRADLEY MILLS, MSB#102070


                                     CERTIFICATE OF SERVICE

        I, M. Bradley Mills, attorney for Defendant do hereby certify that I have on this date

electronically filed via, the Electronic Case Filing System, a true and correct copy of the foregoing

document and provided Notice to all necessary parties.


        This the 25th day of September, 2019.


                                                  ___/s/ Brad Mills ________________
                                                  M. BRADLEY MILLS


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